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            IN THE UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF ARKANSAS
                      CENTRAL DIVISION


BRIAN WHITLEY, Individually and
on Behalf of All Others Similarly Situated                     PLAINTIFF


v.                        No. 4:16-cv-624-DPM


BAPTIST HEALTH; BAPTIST HEALTH
HOSPITALS; DIAMOND RISK
INSURANCE LLC; ADMIRAL
INSURANCE COMPANY; ADMIRAL
INDEMNITY COMP ANY; IRONSHORE
INDEMNITY, INC.; and IRONSHORE
SPECIALTY INSURANCE CO.                                   DEFENDANTS



                                  ORDER
     The Court held a status conference today with counsel and
resolved the claim form issues. Whitley will take the lead on the revised
form for review by Baptist.          The Court appreciates counsel's
collaboration. Whitley will file a copy of the notice sent to the class this
summer if it is not already in the record. Any motion by Whitley to
take an interlocutory appeal is due by 18 November 2020.                Any
responding request from Baptist is due by 25 November 2020. The
Court will withhold a schedule for the rest of the case until it has
addressed that potential issue.
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So Ordered.

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                            D.P. Marshall Jr.
                            United States District Judge
